Case 2:23-cv-00120-JRS-MG Document 1-42 Filed 03/16/23 Page 1 of 16 PageID #: 258




                 Exhibit 41
   TTV NV State Litigation Invoice 2020-0623
Case 2:23-cv-00120-JRS-MG Document 1-42 Filed 03/16/23 Page 2 of 16 PageID #: 259



          JAMES BOPP, JR.
         jboppjr@aol.com
                                     THE BOPP LAW FIRM, PC
                                              ATTORNEYS AT LAW

                                             Tiffi NATIONAL BUJLDING
                                                 I South Sixth Street
                                         TERRE HAUTE, INDIANA 47807-3510
                                     Telephone 812/232-2434   Facsimile 8 12/235-3685
                                                  www.bopplaw.com




                                               INVOICE
                                             June 23, 2020



True the Vote, Inc.
P. 0. Box 1 3 1 768
Houston, TX 772 1 9- 1 768
Attn: Catherine Engelbrecht--President


In Reference To:Litigation--NV--state


               Professional St:rvices

                                                                                        Hrs!Rate      Amount

   4/1 6/2020 REC       Review multiple emails from James Bopp, Jr.                         0.30       1 59.00
                        regarding need to sue Nevada regarding election                   530.00/hr
                        law; email to James Bopp, Jr. regarding· same

              REC       Review two articles from James Bopp, Jr.                            0.20       1 06.00
                        regarding Nevada voting plan for primary                          530.00/hr

              REC      Research additional articles regarding election                      1 .00      530.00
                       plans and download Marc Elias letter; make                         530.00/hr
                       briefing notes
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True the Vote, Inc.                                                                        Page 2


                                                                            Hrs/Rate       Amount

   4/16/2020 REC      Review and annotate relevant statutes; regulations,       4.10       2,173.00
                      etc. from Secretary of State website; create            530 .00/hr
                      working document for use in briefing; emails with
                      James Bopp, Jr. ; emails from local counsel

              REC     E-mail from local counsel with Democrats'                 1 .50       795.00
                      complaint; review and annotate same; work on            530.00/hr
                      arguments for our use

              JB      Review article regarding DNC state case; multiple         1.10        693.00
                      emails to Richard E. Coleson regarding case; email      630.00/hr
                      exchange with Richard E. Coleson regarding case

  4/17/2020 REC       Prepare for and attend videoconference with James         0.60        318.00
                      Bopp, Jr. regarding case status and needs               530.00/hr

              JB      Videoconference with Richard E. Coleson                   0.40        252.00
                      regarding case                                          630.00/hr

  4/22/2020 REC       E-mail with James Bopp, Jr. regarding case needs          0.10         53 .00
                                                                              530.00/hr

              REC     Review emails from James Bopp, Jr. regarding              1.20        636.00
                      resources for case; review same and organize into       530.00/hr
                      resource page with links and circulate to firm
                      lawyers

              REC     Work on answer for James Bopp, Jr. regarding              0.20        106.00
                      Article I, section 4 argument                           530.00/hr

              REC     Videoconference with James Bopp, Jr. and firm             0.50        265 .00
                      attorneys regarding case needs                          530.00/hr

             REC      Work on briefing for Intervention Motion                  1.40        742.00
                                                                              530.00/hr

             CLY      Conference with Amanda L. Narog, Richard E .               0.50       155.00
                      Coleson, and Courtney E. Milbank regarding              3 10.00/hr
                      substance of state case; next steps
Case 2:23-cv-00120-JRS-MG Document 1-42 Filed 03/16/23 Page 4 of 16 PageID #: 261




True the Vote, Inc.                                                                          Page 3


                                                                             Hrs/Rate        Amount

   4/22/2020 AN       Prepare for video conference                               0.30          90.00
                                                                               300.00/hr

              AN      Video conference regarding Intervention                    0.50         1 50.00
                                                                               300.00/hr

              JB      Review DNC Complaint                                       0.60         378.00
                                                                               630.00/hr

              JB      Phone conference with Catherine regarding                   0.50        3 1 5 .00
                      Intervention                                             63 0.00/hr

              JB      Phone conference with associates regarding                 0.50         3 1 5 .00
                      Intervention                                             630.00/hr

              JB      Numerous email exchanges regarding Intervention             0.90        567.00
                                                                               63 0. 00/hr

  4/23/2020 REC       Phone conference with James Bopp, Jr. regarding            0.20         1 06.00
                      new claim regarding absentee ballot deadline             530.00/hr

              REC     E-mails with Corrine L. Youngs regarding case              0. 1 0        5 3 .00
                      needs                                                    530.00/hr

             REC      E-mail from James Bopp, Jr. regarding                      0.80         424.00
                      ballot-problem article; find prior article regarding     530.00/hr
                      same and update resource document for firm use
                      regarding such problem; work on Intervention brief

             REC      Review file; create document shell; work on brief         0.50          265 .00
                                                                              530.00/hr

             REC      E-mails with Corrine L. Youngs and Amanda L.              0. 1 0         53.00
                      Narog regarding brief                                   530.00/hr

             REC      Two emails from James Bopp, Jr. regarding                 0. 1 0         53 .00
                      articles for use in argument                            530.00/hr
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True the Vote, Inc.                                                                        Page 4


                                                                            Hrs/Rate       Amount

   4/23/2020 REC      E-mails with Corrine L. Youngs and Amanda L.              0. 1 0        53 .00
                      Narog regarding checking local rules for                530.00/hr
                      compliance and case needs

              REC     Work on Intervention brief                                0.30         1 59.00
                                                                              530.00/hr

              REC     Review three emails from James Bopp, Jr.                  0. 1 0        53 .00
                      regarding case needs and arguments                      530.00/hr

              REC     Check articles linked by James Bopp, Jr. and              0. 1 0        53 .00
                      update case resource page for use                       530.00/hr

              REC     E-mail from James Bopp, Jr. regarding notifying           0. 1 0        53.00
                      court regarding hearing intentions and calendar         530.00/hr

              REC     Work on Intervention brief                                4.00       2,120.00
                                                                              530.00/hr

              REC     Work on Intervention brief and circulate for review       2 .40      1 ,272.00
                      and use                                                 530.00/hr

              REC     Phone conference with James Bopp, Jr. regarding           0. 1 0        53 .00
                      argument issue and status                               530.00/hr

              REC     E-mails and texts with Corrine L. Youngs and              0.30        1 59.00
                      Amanda L. Narog regarding case status and needs         530.00/hr

              CLY     E-mail regarding counting absentee ballots past           0.20          62.00
                      election                                                310.00/hr

             CLY      Draft retainer agreements for Plaintiffs                 0.40         1 24.00
                                                                             310.00/hr

             CLY      Review emails for voters; save to file                     0.20        62.00
                                                                             3 1 0.00/hr

             CLY      Conference with James Bopp, Jr. regarding                0.80         248 .00
                      retainers; make changes and finalize as needed         310.00/hr
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True the Vote, Inc.                                                                        Page 5


                                                                           Hrs/Rate        Amount

   4/23/2020 CLY      E-mail regarding briefing                                  0.20         62.00
                                                                             3 1 0.00/hr

              CLY     Review rules for pro hac vice; save form to folder         0.40        1 24.00
                                                                             3 1 0.00/hr

              CLY     Conference with Amanda L. Narog regarding                  0.20         62.00
                      application Pro hac vice; need for Certificate of      3 1 0.00/hr
                      Good Standing

              CLY     Conference with Amanda L. Narog and Richard E.             0.20         62.00
                      Coleson regarding tasks; next steps                    3 1 0.00/hr

              CLY     Work on Intervention materials                             3.30      1 ,023.00
                                                                             3 1 0.00/hr

              CLY     Work on answer                                             1 .30      403 .00
                                                                             3 1 0.00/hr

              AN      Continue drafting Motion to Intervene; research          4.50        1 ,3 50.00
                      NV state cases; phone conference with Corrine L.       300.00/hr
                      Youngs regarding intervention (2x)

              JB      Phone conference with Richard E. Coleson                 0.50         3 1 5 .00
                      regarding new claim                                    630.00/hr

              JB      Review Richard E. Coleson Memo regarding new             0.60         378.00
                      claim; approve                                         630.00/hr

              JB      Phone conference with Richard E. Coleson                 0.20          1 26.00
                      regarding b allot deadline                             630.00/hr

              JB      Review ballot problem articles; email Richard E.         0.40         252.00
                      Coleson                                                630.00/hr

              JB      E-mail exchange with Richard E . Coleson                 0.30         1 89.00
                      regarding articles                                     630.00/hr
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True the Vote, Inc.                                                                        Page 6

                                                                             Hrs!Rate      Amount

   4/23/2020 JB       E-mail to Richard E. Coleson regarding hearing             0. 1 0      63.00
                                                                               630.00/hr

              JB      Phone conference with Richard E. Coleson                   0. 1 0      63 .00
                      regarding argument                                       630.00/hr

              JB      Review Planitffs retainers; conference with Corrine        0.40       252.00
                      L. Youngs regarding revision                             630.00/hr

  4/24/2020 REC       E-mails with James Bopp, Jr. regarding case status         0. 1 0      53 .00
                      and argument                                             530.00/hr

              REC     Monitor election and c 1 9 news nationally; find and       0.60       3 1 8.00
                      review relevant Nevada Governor emergency                530.00/hr
                      declarations; update resource document for case use

              REC     Review pro hac vice application and instructions           0.50       265 .00
                      and fill in same                                         530.00/hr

              REC     Phone conference with James Bopp, Jr. regarding            0.30       1 59.00
                      case status and needs and plans                          530.00/hr

              REC     E-mails from Corrine L. Youngs with complaint              0. 1 0      53 .00
                      and Intervention documents for review                    530.00/hr

              REC     Review intervention motion; review and edit                0.60       3 1 8.00
                      Intervention brief; review and edit complaint            530.00/hr

             REC      Phone conference with James Bopp, Jr. regarding            0. 1 0      53.00
                      filing status and case needs                             530.00/hr

             REC      E-mails with Corrine L. Youngs regarding case              0. 1 0      53.00
                      status and needs                                        53 0.00/hr

             REC      Review two emails from James Bopp, Jr. regarding          0. 1 0       53.00
                      work by Rob Citak on research and draft module          530.00/hr
                      setting out harm issues with absentee ballots etc.
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True the Vote, Inc.                                                                        Page   7

                                                                            Hrs!Rate       Amount

   4/24/2020 REC      Review emai ls between James Bopp, Jr. and                0. 1 0       53.00
                      Corrine L. Youngs and local counsel                     530.00/hr

              REC     E-mails with Corrine L. Youngs regarding                  0.10         53.00
                      notifying court regarding hearing                       530.00/hr

              REC     Prepare and send e-mail to Rob Citak regarding            0.90        477.00
                      needed research and drafting                            530.00/hr

              REC     Take pro hac vice application to be notarized and          0.50       265 .00
                      deliver to FedEx                                        53 0.00/hr

              REC     Phone conference with James Bopp, Jr. regarding           0. 1 0       53.00
                      his pro hac vice application needs                      530.00/hr

              REC     E-mail to Bryan Snyder regarding pro hac vice             0. 1 0       53 .00
                      applications for James Bopp Jr. and Richard E.          530.00/hr
                      Coleson

              REC     Get James Bopp, Jr. bar admissions list and send to       0.30        1 59.00
                      local counsel; emails with Jeffrey P. Gallant           530.00/hr
                      regarding same; email from local counsel; email to
                      same with correction to list

              REC     E-mail with Rob Citak regarding research needed           0. 1 0       53.00
                                                                              530. 00/hr

              REC     Review multiple emails from local counsel                1 .00        530.00
                      regarding filed documents and hearing; download        530.00/hr
                      and print documents for review; begin review of
                      same

              REC     E-mail from O'Mara with court order on expedition        0. 1 0        53.00
                                                                             530.00/hr

             REC      E-mails with Corrine L. Youngs regarding case            0. 1 0        53.00
                      needs and plans                                        530.00/hr
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True the Vote, Inc.                                                                       Page 8


                                                                          Hrs/Rate        Amount

   4/24/2020 CLY      Work on finalizing documents                            3 .20        992.00
                                                                            310. 00/hr

              CLY     Conference with Amanda L. Narog regarding                 0.20         62.00
                      happenings in case                                    3 1 0.00/hr

              CLY     E-mail regarding answer; call David; send email         0.30           93 .00
                      with fix                                              310.00/hr

              CLY     Work on pro hac vice application                        0.30           93 .00
                                                                            310.00/hr

              CLY     Get Pro hac vice notarized                                0.30        93 .00
                                                                            3 1 0.00/hr

              CLY     Prepare and send F edEx pro hac vice                    0.30          93.00
                                                                            310.00/hr

              AN      Continue drafting Motion to Intervene; research         6.90        2,070.00
                                                                            300.00/hr

              AN      E-mail Carter regarding verifications; phone            0.70         210.00
                      conference with Corrine L. Youngs regarding brief     300.00/hr
                      and filing (2x)

              JB      E-mail exchange regarding filing draft Pleading         0.50         3 1 5 .00
                                                                            630.00/hr

              JB      Review Motion to Intervene                              0.70         44 1 .00
                                                                            630.00/hr

              JB      Review draft Answer                                     0.50         3 15 .00
                                                                            630.00/hr

             JB       Phone conference with Richard E. Coleson                0.40         252.00
                      regarding case needs (2x)                             630.00/hr

             JB       Review GOP Intervention Pleading                       0.60          378 .00
                                                                           630.00/hr
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True the Vote, Inc.                                                                          Page 9


                                                                              Hrs/Rate       Amount

   4/24/2020 JB       Review Court Order regarding State of California;           0.40        252.00
                      email exchange regarding Order                            630.00/hr

              JB      Phone conference with Richard E. Coleson                    0. 1 0        63.00
                      regarding his pro hac vice application needs              630.00/hr

              JB      Numerous email exchanges between Rob, Corrine               0.80        504.00
                      L. Youngs, local counsel                                  630.00/hr

   4/25/2020 REC      Two emails from James Bopp, Jr. and organize                0.40        2 1 2.00
                      case digital files per request; review file; email to     530.00/hr
                      James Bopp, Jr. regarding case status and needs

              REC     E-mai l to Rob Citak with DNC Preliminary                   0. 1 0       5 3 .00
                      Injunction Memo                                           530.00/hr

              REC     E-mail to James Bopp Jr., Corrine L. Youngs and             0.10         5 3 .00
                      Amanda L . Narog regarding Preliminary Injunction         530.00/hr
                      Memo

              REC     E-mail from James Bopp, Jr. with question about             0.20        1 06.00
                      voter-ID issue; prepare and send answer regarding         530.00/hr
                      Nevada election scheme

              JB      Review DNC Preliminary Injunction memo;                     0.90        567.00
                      numerous email exchanges regarding memo, Voter            630.00/hr
                      ID issue, case needs

  4/27/2020 REC       Conference with James Bopp, Jr. and Corrine L.              0. 1 0       5 3 .00
                      Youngs regarding case status and needs                    530.00/hr

              REC     Conference with James Bopp, Jr. and Corrine L.              0.60        3 1 8 .00
                      Youngs and Amanda L. Narog regarding case                 530.00/hr
                      status and needs

              CLY     E-mail regarding declaration                                 0.20        62.00
                                                                               3 1 0.00/hr
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True the Vote, Inc.                                                                      Page 1 0


                                                                          Hrs/Rate       Amount

   4/27/2020 CLY      E-mails regarding voter in state case; opening up       0.30          93.00
                      May 1                                                 310.00/hr

              CLY     Conference with James Bopp, Jr. regarding               0.20          62.00
                      schedule; next steps                                  310.00/hr

              CLY     Set-up conference call with local counsel               0.20          62.00
                                                                            310.00/hr

              CLY     E-mail regarding pro hac vice                           0.20          62.00
                                                                            310.00/hr

              CLY     Conference with James Bopp, Jr. and David                0.40       124.00
                      regarding hearing and other matters                   3 10.00/hr

              CLY     Conference with James Bopp, Jr., Richard E.              0.60       186.00
                      Coleson and Amanda L. Narog regarding deadlines       3 10.00/hr

              JB      E-mail exchange regarding attorney conference           0.50        315.00
                      caU; conference call with Corrine L. Youngs           630.00/hr
                      Richard E. Coleson and local counsel regarding
                      hearing

              JB      Attend Videoconference Status Conference with           1.00        630.00
                      Judge                                                 630.00/hr

              JB      Phone conference with Richard E. Coleson,               0.60        3 78.00
                      Corrine L. Youngs and Amanda L. Narog                 630.00/hr
                      regarding Schedule for State case, next steps

              JB      Review email from local counsel regarding               0.20        1 26.00
                      Schedule                                              630.00/hr

             JB       Review Plaintiffs Opposition to Intervene by RNC        0.40        252.00
                      and Voters                                            630.00/hr

  4/28/2020 CL Y      E-mail regarding deadlines; calendar                     0.3 0       93.00
                                                                            3 10.00/hr
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True the Vote, Inc.                                                                       Page 1 1


                                                                            Hrs/Rate      Amount

   4/28/2020 JB       Review Court Order regarding Schedule                     0.30       189.00
                                                                              630.00/hr

   4/29/2020 REC      E-mails and texts with Corrine L. Youngs                  0.20       106.00
                      regarding need to file Intervention Reply               530.00/hr

              REC     E-mails with James Bopp, Jr. regarding need to file       0.10         53 .00
                      Intervention Reply                                      530.00/hr

              REC     Review and annotate order regarding scheduling            0.20       106.00
                      and deadline for Intervention Reply                     530.00/hr

              REC     Phone Conference with Corrine L. Youngs and               0.10         53 .00
                      Amanda L. Narog regru·ding Intervention Reply           530.00/hr

              REC     E-mails with Corrine L. Youngs regarding case             0.10         53 .00
                      needs and Intervention Reply                            530.00/hr

              REC     Work on Intervention Reply                                0.30       159.00
                                                                              530.00/hr

              REC     Work on Intervention Reply                                0.60       318.00
                                                                              530.00/hr

              REC     Work on Intervention Reply                                2.20      1,166.00
                                                                              530.00/hr

              REC     Work on Intervention Reply                                2.80      1,484.00
                                                                              530.00/hr

             REC      Phone conference with James Bopp, Jr. regarding           0.10        53 .00
                      Intervention Reply                                      530.00/hr

              REC     Phone conference with Amanda L. Narog                     0.10        53.00
                      regarding filing Intervention Reply                     530.00/hr

             CLY      E-mail from James Bopp, Jr. regarding pro hac             0.60       186.00
                      vice; follow-up with Debbie; email from Jeffrey P.      310.00/hr
                      Gallant; save to file; email local counsel
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True the Vote, Inc.                                                                        Page 1 2


                                                                           Hrs/Rate        Amount

   4/29/2020 CLY      IM with Richard E . Coleson regarding Reply;               0.50        1 55.00
                      review order; forward to Richard E . Coleson; save     3 1 0.00/hr
                      Opposition to file

              CLY     Review part of Opposition; conference with                 0.60        1 86.00
                      Richard E. Coleson and Amanda L. Narog                 3 1 0.00/hr
                      regarding Reply; emails with David regarding
                      Reply· proposed order

              CLY     Conference with Amanda L. Narog regarding                  0.20         62.00
                      reviewing Reply; formatting                            3 1 0.00/hr

              CLY     Respond to email from David regarding proposed             0. 1 0       3 1 .00
                      order                                                  3 1 0.00/hr

              AN      Review part of Opposition; conference with               0.50         150.00
                      Richard E. Coleson and Corrine L. Youngs               300.00/hr
                      regarding Reply; emails with David regarding
                      Reply; proposed order

              AN      Conference with Corrine L. Youngs regarding              0.20          60.00
                      reply brief format                                     300.00/hr

              AN      Phone conference with Richard E. Coleson                 1.10         330.00
                      regarding review brief and send; review brief and      300.00/hr
                      send to local counsel

              JB      E-mail exchange regarding response; review draft         0.90         567.00
                      of Reply regarding Intervention; phone conference      630.00/hr
                      with Richard E . Coleson regarding Reply

  4/3 0/2020 REC      E-mails with James Bopp, Jr. regarding our               0. 1 0        53.00
                      Intervention Reply                                     530.00/hr

             REC      Find California GOP case and get complaint               0.20         106.00
                      regarding ballot harvesting issue; begin review        530.00/hr

             REC      E-mails with James Bopp, Jr. regarding case needs        0. 1 0        53 .00
                                                                             530.00/hr
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True the Vote, Inc.                                                                        Page 13


                                                                         Hrs!Rate          Amount

   4/30/2020 REC      E-mails with James Bopp, Jr. regarding briefiing       0. 1 0           53 .00
                      needs                                                530.00/hr

              REC     Review California GOP complaint against                0.20            1 06.00
                      Governor Newsom regarding ballot harvesting          530.00/hr

              REC     Review and annotate Western District Virginia          0.50            265 .00
                      opinion disallowing intervention in similar case     530.00/hr

              REC     E-mail from David O'Mara and review RNC letter         0.20            1 06.00
                      objecting to extension; email to James Bopp, Jr.     530.00/hr
                      regarding same (. 1 )

              REC     E-mails with Corrine L. Youngs and Amanda L.           0.20            1 06.00
                      Narog regarding case status and needs                530.00/hr

              CLY     E-mails regarding Reply                                  0.20           62.00
                                                                           3 1 0.00/hr

              CLY     E-mail regarding deadline change                         0.20           62.00
                                                                           3 1 0.00/hr

              JB      E-mail exchange regarding case needs                   0.30            1 89.00
                                                                           630.00/hr



              For p rofessional services rendered                           83.70        $38,788.00
              Additional charges:

                                                                         Qty/Pdce

  4/23/2020 Cost advanced for fees for Certificates of Good                      1             8 .00
            Standing--Payable to Roll of Attorneys Administrator, 402       $8.00
            West Washington Street, Room 062, Indianapolis, IN
            46204--RA check # 1 1 38--RA check d ate 04-23-20
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True the Vote, Inc.                                                                        Page 14


                                                                          Qty/Price        Amount

   4/23/2020 Cost advanced for FedEx to deliver fee and documents                 1           15.15
             requesting Certificates of Good Standing- to Roll of            $15.15
             Attorneys Administrator, 402 West Washington Street,
             Room 062, Indianapolis, IN 46204

              Cost advanced for LexisNexis computer assisted legal               10           30.00
              research--research Intervention rules                           $3.00

   4/24/2020 Cost advanced for FedEx to deliver documents to Bryan               1            78.23
             Snyder, O'Mara Law, 3 1 1 E Liberty St., Reno, NV 89501        $78.23

              Cost advanced for FedEx to deliver documents to Bryan                 1         3 1 .55
              Snyder, O'Mara Law, 3 1 1 E Liberty St., Reno, NV 89501       $3 1 .5 5

              Cost advanced for FedEx to deliver documents to David                1          42. 5 1
              O'Mara, O'Mara Law, 3 1 1 E Liberty St., Reno, NV 8950 1      $42. 5 1

              Cost advanced for FedEx to deliver documents of                        1        15. 1 1
              Certificates of Good Standing from Roll of Attorneys          $ 1 5. 1 1
              Administrator, 402 West Washington, St., Indianapolis, IN
              46204 to The Bopp Law Firm, 1 South Sixth St., Terre
              Haute, IN 47807

              Cost advanced for LexisNexis computer assisted legal               27           8 1 .00
              research--research Election statutes; permissive               $3 .00
              intervention

  4/28/2020 Cost advanced for LexisNexis computer assisted legal                15            45.00
            research--research Election statutes                             $3.00

  4/29/2020 Cost advanced for FedEx to deliver documents of                        1          26. 13
            Certificates of Good Standing to Suzy Moore, State Bar          $26. 1 3
            ofNevada, 3 1 00 Charleston Blvd., Las Vegas, NV 8 9 1 02



             Total costs                                                                   $372.68

             Total a mount of this bill                                                  $39,160.68
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True the Vote, Inc.                                                                Page 1 5


                                                                                   Amount


               Balance due                                                      $39,160.68



                                Attorney Summary
Name                                                 Hrs/Rate         Rate    -----'Amount
                                                                                 :...==
                                                                                      =c =


Amanda L. Narog                                         1 4.70     300.00        $4,41 0.00
Corrine L. Youngs                                       1 7. 1 0   3 1 0.00      $5,301 .00
Richard E. Coleson                                      3 6.20     530.00       $ 1 9, 1 86.00
James Bopp, Jr.                                         1 5 .70    630.00        $9,891 .00
